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Attorney for Defendant
WALTER GLENN PRIMROSE

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )             CR. NO. 22-00060-LEK
                          )
         Plaintiff,       )             MOTION FOR WITHDRAWAL AND
                          )             SUBSTITUTION OF COUNSEL;
    vs.                   )             DECLARATION OF COUNSEL;
                          )             CERTIFICATE OF SERVICE
WALTER GLENN PRIMROSE,    )
                          )
         Defendant.       )
                          )

  MOTION FOR WITHDRAWAL AND SUBSTITUTION OF COUNSEL

      COMES NOW counsel, MAX J. MIZONO, Assistant Federal Defender, and

moves this Honorable Court to allow the Office of the Federal Public Defender to

withdraw as counsel for Defendant WALTER GLENN PRIMROSE and for the
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appointment of a CJA panel attorney for the reason that there is a breakdown of the

attorney-client relationship, as set forth in the attached Declaration of Counsel.

      DATED: Honolulu, Hawaii, October 11, 2022.


                                         /s/ Max J. Mizono
                                        MAX J. MIZONO
                                        Attorney for Defendant
                                        WALTER GLENN PRIMROSE




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